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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 WAYCROSS DIVISION

DR. MAHENDRA AMIN, M.D.,                       )
                                               )
        Plaintiff,                             )
                                               )   Case No. 5:21-CV-00056-LGW-BWC
v.                                             )
                                               )
NBCUNIVERSAL MEDIA, LLC,                       )
                                               )
      Defendant.                               )
_______________________________

                     JOINT NOTICE OF SETTLEMENT TO THE COURT

        Pursuant to instructions from the Court, the parties have conferred and jointly state:

     1. The parties have agreed to and signed a term sheet to settle this lawsuit.

     2. The parties have agreed that, upon completion of the settlement agreement, the parties

        will stipulate to the dismissal of this lawsuit with prejudice pursuant to Fed. R. Civ. P.

        41(a)(1)(A)(ii).

     3. The parties are diligently working to finalize the language of the settlement agreement.

     4. The parties expect to effectuate the settlement within the next several weeks.

     5. The parties attest that they will continue to work diligently and will keep the Court

        abreast of developments.

[Signatures on following page.]
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          Respectfully submitted this 20th day of February 2025.

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                             CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing JOINT NOTICE OF

SETTLEMENT TO THE COURT will be served upon all attorneys in this matter by filing

with the Court’s CM/ECF system.

      This 20th day of February 2025.



                                                       /s/ Stacey G. Evans
                                                       Stacey G. Evans

                                                       Counsel for Plaintiff




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